     Case 2:21-cv-02034-APG-BNW Document 54
                                         52 Filed 07/08/22
                                                  07/01/22 Page 1 of 2




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 4   Attorney for Plaintiff
                               UNITED STATES DISTRICT COURT
 5
                                    DISTRICT OF NEVADA
 6
     DIEGO M. GALIETTI, an individual,
 7
                    Plaintiff,
 8   vs.                                                     Case No.: 2:21-cv-2034-APG BNW
 9
     WESTERN PROGRESSIVE-NEVADA, INC.;
10   CITIBANK, N.A., as Trustee of the American
     Home Mortgage Investment Trust 2004-3,
11   Mortgage Backed Notes, Series 2004-3; and DOES
     I THROUGH X inclusive; and ROE
12   CORPORATION XX through XXX, inclusive,
                  Defendants.
13

14            STIPULATION TO EXTEND TIME TO RESPOND TO DEFENDANTS’
                    SUPPLEMENTAL BRIEF AND MOTION TO DISMISS
15
                                              (First Request)
16

17          Plaintiff, Diego M. Galietti (Galietti), and Defendants Western Progressive-Nevada, Inc.

18   (Western Progressive), and Citibank, N.A., as Trustee of the American Home Mortgage
19   Investment Trust 2004-3, Mortgage Backed Notes, Series 2004-3 (Citibank), by and through
20
     their counsel, hereby stipulate and agree as follows:
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            1. Western Progressive and Citibank together filed on June 17, 2022 a Motion to
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                Dismiss and a Supplemental Brief (docket nos. 50 and 51).
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            2. Galietti’s deadline to file responsive pleadings to the above is July 1, 2022 currently.

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     Case 2:21-cv-02034-APG-BNW Document 54
                                         52 Filed 07/08/22
                                                  07/01/22 Page 2 of 2




           3. Even so the parties, Galietti, Western Progressive and Citibank agree to extend the
 1

 2            time for Galietti to respond to the Motion to Dismiss and Supplemental Brief to July

 3            15, 2022.

 4         4. This is the first motion for an extension of time for Galietti to file responses to the
 5
              Motion to Dismiss and Supplemental Brief. The extension is requested in good faith
 6
              and is not for the purpose of delay or prejudice to any party to this action.
 7
           Dated this 1st day of July 2022.
 8
     /s/ Randal R. Leonard, Esq.                          /s/ Ramir M. Hernandez, Esq.
 9
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     Attorney for Plaintiff                               Attorneys for Defendants
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16                                                        IT IS SO ORDERED:
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                                                          ________________________________
19                                                        UNITED STATES DISTRICT JUDGE
20
                                                                    July 5, 2022
                                                          DATED: ________________________
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